        Case 1:25-cv-00333-ABA      Document 67      Filed 03/10/25    Page 1 of 4



                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND

NATIONAL ASSOCIATION OF
DIVERSITY OFFICERS IN HIGHER
EDUCATION, et al.,
        Plaintiffs,
                                                   Case No. 1:25-cv-00333-ABA
   v.

DONALD J. TRUMP, et al.,
        Defendants



          CLARIFIED PRELIMINARY INJUNCTION (March 10, 2025) 1

        Pursuant to Federal Rule of Civil Procedure 65, and upon consideration of the

Motion for a Temporary Restraining Order and/or Preliminary Injunction filed by

Plaintiffs National Association of Diversity Officers in Higher Education, the American

Association of University Professors, Restaurant Opportunities Centers United, and the

Mayor and City Council of Baltimore, Maryland (ECF No. 27) (the “Preliminary

Injunction Motion”), Defendants’ memorandum in opposition (ECF No. 35), 2 Plaintiffs’

reply brief (ECF No. 39), and the exhibits to those submissions; having held a hearing

on the Preliminary Injunction Motion on February 19, 2025; having also considered




1 For the reasons set forth in the accompanying Memorandum Opinion, the Court is

issuing this order to clarify the scope of the preliminary injunction issued on February
21, 2025 (ECF No. 45). The only clarified operative language appears in the definition of
Enjoined Parties in paragraph 3.
2 The Defendants named in this action are the Office of Management and Budget, the

Departments of Justice, Health and Human Services, Education, Labor, Interior,
Commerce, Agriculture, Energy, and Transportation along with the heads of those
agencies (in their official capacities), the National Science Foundation, and President
Trump in his official capacity.

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       Case 1:25-cv-00333-ABA       Document 67      Filed 03/10/25   Page 2 of 4



Plaintiffs’ Motion to Clarify Preliminary Injunction Order (ECF No. 50) (“Clarification

Motion”), Defendants’ response (ECF No. 62) and Plaintiffs’ reply (ECF No. 65); and for

the reasons set forth in the Court’s Memorandum Opinion that accompanied the

original Preliminary Injunction (ECF No. 44), and the additional reasons set forth in the

Memorandum Opinion that accompanies this clarified Preliminary Injunction, it is

hereby ORDERED as follows:

      1.     The Preliminary Injunction Motion is GRANTED IN PART and DENIED

IN PART, and the Clarification Motion is GRANTED.

      2.     This Order addresses the following provisions in Exec. Order 14151,

Ending Radical and Wasteful Government DEI Programs and Preferencing, Executive

Order of January 20, 2025, 90 Fed. Reg. 8339 (Jan. 29, 2025) (the “J20 Order”), and

Exec. Order 14173, Ending Illegal Discrimination and Restoring Merit-Based

Opportunity, Executive Order of January 21, 2025, 90 Fed. Reg. 8633 (Jan. 31, 2025)

(“J21 Order”):

      J20 Order § 2(b)(i) (in part) (the “Termination Provision”):

             Each agency, department, or commission head, in
             consultation with the Attorney General, the Director of OMB,
             and the Director of OPM, as appropriate, shall take the
             following actions within sixty days of this order:

                 (i) terminate, to the maximum extent allowed by law, . . .
                 all . . . “equity-related” grants or contracts[.]

      J21 Order § 3(b)(iv) (the “Certification Provision”):

             The head of each agency shall include in every contract or
             grant award:

                 (A) A term requiring the contractual counterparty or grant
                 recipient to agree that its compliance in all respects with

                                            2
       Case 1:25-cv-00333-ABA       Document 67       Filed 03/10/25    Page 3 of 4



                 all applicable Federal anti-discrimination laws is material
                 to the government’s payment decisions for purposes of
                 section 3729(b)(4) of title 31, United States Code; and

                 (B) A term requiring such counterparty or recipient to
                 certify that it does not operate any programs promoting
                 DEI that violate any applicable Federal anti-
                 discrimination laws.

      J21 Order § 4(b)(iii) (the “Enforcement Threat Provision”):

             To further inform and advise me so that my Administration
             may formulate appropriate and effective civil-rights policy,
             the Attorney General, within 120 days of this order, in
             consultation with the heads of relevant agencies and in
             coordination with the Director of OMB, shall submit a report
             to the Assistant to the President for Domestic Policy
             containing recommendations for enforcing Federal civil-
             rights laws and taking other appropriate measures to
             encourage the private sector to end illegal discrimination and
             preferences, including DEI. The report shall contain a
             proposed strategic enforcement plan identifying

                 . . . (iii) A plan of specific steps or measures to deter DEI
                 programs or principles (whether specifically denominated
                 ‘DEI’ or otherwise) that constitute illegal discrimination or
                 preferences. As a part of this plan, each agency shall
                 identify up to nine potential civil compliance
                 investigations of publicly traded corporations, large non-
                 profit corporations or associations, foundations with
                 assets of 500 million dollars or more, State and local bar
                 and medical associations, and institutions of higher
                 education with endowments over 1 billion dollars.

      3.     The Preliminary Injunction applies to and binds Defendants other than

the President, as well as all other federal executive branch agencies, departments, and

commissions, and their heads, officers, agents, and subdivisions directed pursuant to

the J20 and J21 Orders (collectively, the “Enjoined Parties”).


                                             3
      Case 1:25-cv-00333-ABA      Document 67     Filed 03/10/25    Page 4 of 4



      4.    The Enjoined Parties shall not:

            a.    pause, freeze, impede, block, cancel, or terminate any awards,

                  contracts or obligations (“Current Obligations”), or change the

                  terms of any Current Obligation, on the basis of the Termination

                  Provision;

            b.    require any grantee or contractor to make any “certification” or

                  other representation pursuant to the Certification Provision; or

            c.    bring any False Claims Act enforcement action, or other

                  enforcement action, pursuant to the Enforcement Threat Provision,

                  including but not limited to any False Claims Act enforcement

                  action premised on any certification made pursuant to the

                  Certification Provision.


Date: March 10, 2025                                  /s/
                                              ___________________
                                              Adam B. Abelson
                                              United States District Judge




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